                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                                No. 5:24-cv-75-BO

BRIER CREEK INTEGRATED PAIN &               )
SPINE, PLLC, AND ROBERT D.                  )
WADLEY, M.D. ,                              )
                                            )
            Plaintiffs,                     )
                                            )
V.                                          )                     ORDER
                                            )
XAVIER BECERRA, in his official             )
capacity as SECRETARY OF HEALTH             )
AND HUMAN SERVICES,                         )
                                            )
               Defendant.                   )


      For good cause being shown upon the motion of Defendant, IT IS HEREBY

ORDERED that Defendant is permitted to file the certified administrative record,

under seal, as a manual attachment by delivering a copy of certified administrative

record to the Court on a flash drive in accordance with with Section V.A. of the

E.D.N.C. Electronic Case Filing Administrative Policies and Procedures Manual

(Rev. March 2017).

      SO ORDERED this     -1.l!_ day of ~ 2024.

                                      TE~~A~
                                      United States District Judge




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